     Case 2:21-mj-30405-DUTY ECF No. 1, PageID.1 Filed 08/27/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff

v.                                             Case No. 21-30405
                                               Originating No. 4:21-cr-00186


ERIC WILLIAMS

       aka “Emo”,

                Defendant.
_____________________________________/

                           GOVERNMENT’S PETITION
                       FOR TRANSFER OF DEFENDANT TO
                    ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

ERIC WILLIAMS, to answer to charges pending in another federal

district, and states:

       1. On August 26, 2021, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Eastern District of

Missouri based on a Superseding Indictment. Defendant is charged in that

district with violation of 21 U.S.C. §846- Conspiracy to Distribute and Possess

with Intent to Distribute five hundred grams or more of a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled

substance.
    Case 2:21-mj-30405-DUTY ECF No. 1, PageID.2 Filed 08/27/21 Page 2 of 2




      2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).



      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                                Respectfully submitted,

                                                SAIMA S. MOHSIN
                                                Acting United States Attorney



                                                s/John Neal         __________
                                                Assistant U.S. Attorney
                                                211 W. Fort Street, Suite 2001
                                                Detroit, MI 48226
                                                John.neal@usdoj.gov
                                                (313) 226-9644



Dated: August 27, 2021
